   Case 18-30374        Doc 56      Filed 07/26/19 Entered 07/26/19 14:15:03                 Desc Main
                                      Document     Page 1 of 3


                             UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                     WESTERN DIVISION

In Re:                                                   Case Number 18-30374-EDK
Sarah F. Huberty                                         Chapter 7

 OBJECTION OF WEBSTER BANK, NATIONAL ASSOCIATION TO TRUSTEE’S MOTION
FOR ORDER APPROVING PRIVATE SALE OF PROPERTY OF THE ESTATE [DOC. NO. 48]

        Now comes Webster Bank, National Association (“Secured Creditor”) and hereby files this
Objection to the Chapter 7 Trustee’s Motion for Order Approving Private Sale of Property of the Estate
(the “Motion to Sell”) filed on June 28, 2019 [Doc. No. 48]. As grounds, Secured Creditor states as
follows:

1. Secured Creditor is the holder of a mortgage encumbering the property located at 30 Cross Street,
Westfield, MA 01085, originally given by Sarah F. Huberty (the “Debtor”) to Mortgage Electronic
Registration Systems, Inc. acting solely as nominee for American Home Mortgage (the “Mortgage”).
The Mortgage is dated January 12, 2007 and recorded in Hampden County Registry of Deeds in Book
16453, Page 484. Thereafter, the Mortgage was assigned to Secured Creditor. Bank of America, N.A.
(“BANA”) is the current servicer for this loan on behalf of Secured Creditor.

2. The Mortgage secures a promissory note given by the Debtor to American Home Mortgage in the
original principal amount of $186,400.00 (the “Note”). Secured Creditor or its custodian and/or agent is,
as of the date hereof, in possession of the Note. Secured Creditor is an entity entitled to enforce the
Note.

3. The Debtor’s Chapter 7 Petition was filed on May 11, 2018.

4. Pursuant to the Debtor’s Statement of Intention filed on May 12, 2018, the Property is/was to be
surrendered.

5. On or about June 6, 2018, Secured Creditor filed a Motion for Relief from Stay pursuant to 11 U.S.C.
§ 362 [Doc. No. 19]. Thereafter, an order granting the requested relief was entered on June 28, 2018
[Doc. No. 25] absent any objection from the Debtor and/or the Chapter 7 Trustee.

6. On or about June 28, 2019, the Chapter 7 Trustee filed a Motion for Order Approving Private Sale of
Property of the Estate, namely the property located at 30 Cross Street, Westfield, MA 01085 (the
“Property”) [Doc. No. 48]. The Trustee’s Motion, inter alia, proposes to sell the Property for a gross sale
price of $118,700.00.

7. The total amount due Secured Creditor on the Mortgage is/was approximately $175,983.08 as of July
12, 2019.

8. Secured Creditor has no objection to the sale of the Property per se, but it, however, objects to
Trustee’s Motion insofar as Secured Creditor is not to be paid in full from the sale proceeds. While the
Trustee’s Motion does indicate that the Property is to otherwise be sold free and clear of all liens, claims,
interests, and encumbrances, the proposed sale price is insufficient to pay-off the full amount due on
Secured Creditor’s first mortgage after the payment of all relevant commissions and fees. Secured



18-032353 / BK03
    Case 18-30374         Doc 56       Filed 07/26/19 Entered 07/26/19 14:15:03                      Desc Main
                                         Document     Page 2 of 3


Creditor further states that as of the filing of this Objection, the Trustee and/or his agents has not been
issued approval by Secured Creditor and/or BANA to proceed with a proposed sale that will result in a
short payoff of Secured Creditor’s mortgage loan.1

9. As such, Secured Creditor maintains that any sale be contingent upon written short sale approval.
Further, in the event such approval is provided, Secured Creditor requests that sale proceeds be tendered
within forty-eight (48) hours of closing and only based upon an unexpired payoff quote.

10. In light of the ongoing short sale review, Secured Creditor reserves the right to amend and/or
supplement this Objection as necessary and appropriate.



           WHEREFORE, Secured Creditor respectfully requests that the Court:

           1) DENY the Chapter 7 Trustee’s Motion for Order Approving Private Sale of Property of the
              Estate filed on June 28, 2019 [Doc. No. 48]; and/or

           2) GRANT such other relief as the Court deems just and proper.



Dated: July 26, 2019

                                                      Respectfully submitted,
                                                      Webster Bank, National Association
                                                      By its attorney,

                                                      /s/ Marcus Pratt
                                                      Marcus Pratt, Esquire
                                                      BBO #684610
                                                      Korde & Associates, P.C.
                                                      900 Chelmsford Street, Suite 3102
                                                      Lowell, MA 01851
                                                      Tel: (978) 256-1500
                                                      bankruptcy@kordeassociates.com




1
  As of the filing of this Objection, Secured Creditor and/or its agents is awaiting the completion of an appraisal of
the subject property in connection with its review of the Trustee’s short sale proposal. The expected completion date
for same is July 25, 2019.


18-032353 / BK03
   Case 18-30374        Doc 56      Filed 07/26/19 Entered 07/26/19 14:15:03                  Desc Main
                                      Document     Page 3 of 3


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Sarah F. Huberty                                         Chapter 7

                                     CERTIFICATE OF SERVICE

I, Marcus Pratt, Attorney for Webster Bank, National Association hereby certify that on July 26, 2019 I
electronically filed the foregoing Objection to Motion to Sell with the United States Bankruptcy Court for
the District of Massachusetts using the CM/ECF System. I served the forgoing documents on the
following CM/ECF participants:

Richard King, Assistant U.S. Trustee
Steven Weiss, Trustee
Roger Lipton, Esquire
David Webber, Esquire

I certify that I have mailed by first class mail, postage prepaid the documents electronically filed with the
Court on the following non-CM/ECF participants:

Sarah F. Huberty
30 Cross Street
Westfield, MA 01085

Sarah F. Huberty
76 Beauregard Terrace
Chicopee, MA 01020


                                                  /s/ Marcus Pratt
                                                  Marcus Pratt, Esquire
                                                  BBO #684610
                                                  Korde & Associates, P.C.
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                                                  Lowell, MA 01851
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18-032353 / BK03
